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FoR THE wEsTERN DISTRICT oF TENNEssEE 95 iiPF;‘ 27 en 3. 5 §
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ELMETRA BROWNLEE,

 

Plaintiff.

Cause No. - 04-2057 DV
Jury Demanded

MEMPHIS CITY GOVERNMENT,
MEMPHIS HOUSING AUTHORITY,
ROBERT LIPSCOMB, in his official
position as executive director,
CHARLES NELMS, in his official and
personal capacity and

CLARENCE HOWARD, in his official
and personal capacity,

Defendants.

 

ORDER ON DEFENDANT’S MOTION T() DISMISS

 

This cause came to be heard upon the motion of Defendants, Memphis Housing
Authority, Robert Lipscomb, in his official position as Executive Director and Dan Nelrns, in his
official capacity (hereinaiter "Defendants"), by and through counsel of record, Glassman,
Edwards, Wade & Wyatt, P.C., for an Order dismissing this cause pursuant to Rules 37(b) and
4l(b) of the Federal Rules of Civil Procedure for Plaintist failure to respond to discovery
pursuant to this Court’s Order and failure to prosecute her case. Said Order Was filed with this
Court on March 16, 2005, giving Plaintiff fifteen days from the date of entry of said Order to
respond to Defendants’ discovery requests Due to Plaintiff`s failure to comply with said Order,
Defendants requested an award of reasonable expenses, including attorney’s fees, incurred in the

prosecution of this Motion and in defending this cause.

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IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that Plaintiffs action
against Def`endants be dismissed with prejudice for Plaintiff’s failure to comply with an Order of
this Court dated March 16, 2005. Further, Plaintiff is required to pay Defendants their
reasonable expenses, to include attorney’s fees, they have incurred during the prosecution of this

Motion and in defending this cause.

JGE

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APPROVED:

BY: gri/504 `IL {/Q/ /w/D MB
Robert A. Cox (BPR No. 14279) '

26 North Second Street

Memphis, TN 381 03-2602

901-527-4673

901-527-5320 - Facsimile

CERTIFICATE OF SERVICE
l hereby certify that a copy of the foregoing has been sent via first class, pre-paid postage,

U. S. Mail to Wanda Abioto, 8900 Germantown Road, Suite 400, Olive Branch, MS, 38654 and
Shei]a Robinson-Beasley, Esq., 5865 Ridgeway Center Parkway, Suite 300, Memphis,

rennessee, 38120 this 15"‘ day of April, 2005.
Robert A. Cox §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02057 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

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Wanda Abioto

LAW OFFICE OF WANDA ABIOTO
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l\/lemphis7 TN 3 8104

Honorable Bernice Donald
US DISTRICT COURT

